   Case 22-16159-CMG Doc 178 Filed 01/03/23 Entered 01/03/23 16:03:45                           Desc Main
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UNITED STATES BANKRUPTCY COURT           Page 1 of 2
DISTRICT OF NEW JERSEY
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 SCOTT S. REVER, ESQ., Subchapter V Trustee
 110 Allen Road, Suite 304
 Basking Ridge, NJ 07920
 T: 973-467-2700                                                         Order Filed on January 3, 2023
 SCOTT S. REVER (SR-1425)                                                by Clerk
                                                                         U.S. Bankruptcy Court
                                                                         District of New Jersey



In Re:                                                   Case No.:       ____________________
                                                                             22-16159 CMG
 ASSUNCAO BROS., INC.,                                   Hearing Date: ____________________
                                   Debtor.
                                                         Judge:          _____________________
                                                                           Christine M. Gravelle

                                                         Chapter:        _____________________
                                                                                   11




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         The relief set forth on the following page is hereby 25'(5('.




  DATED: January 3, 2023
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        The Court having found that the person(s) named below filed application(s) for
 allowances; and notice and opportunity for hearing were given to creditors and other parties in
 interest as required; and for good cause shown; it is


        ORDERED that compensation and expenses are allowed as follows:


        APPLICANTS                     COMMISSION/FEES                      EXPENSES

  Scott S. Rever, Esq.                 $31,680.00                           $112.00
  Subchapter V Trustee




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